                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
GMP: HDM                                           271 Cadman Plaza East
F. #2009R01065                                     Brooklyn, New York 11201



                                                   January 28, 2019


By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Joaquin Archivaldo Guzman Loera
                      Criminal Docket No. 09-466 (S-4) (BMC)

Dear Judge Cogan:

              The government respectfully submits this letter in connection with the trial in
the above-referenced matter. The government moves in limine to preclude defense counsel
from arguing in summation that the government (1) selectively prosecuted the defendant and
(2) suborned perjury to protect the Mexican government.

   I.      The Court Should Preclude Defense Counsel from Arguing Selective Prosecution
           in his Summation

                Prior to trial, the government moved in limine to preclude the defendant from
arguing to the jury that the governments of the United States and Mexico selectively targeted
him for prosecution. See Dkt. No. 213 at 91-94; Dkt No. 326 at 84-86. It is well-settled law
in this Circuit that the “government’s motive in bringing charges against a defendant is
irrelevant to guilt” and thus, “by asking the jury to focus on the government’s conduct, the
defense would be encouraging the jury to decide the case based on something other than the
elements of the charged crimes.” Id. at 92 (citing United States v. Rosado, 728 F.2d 89, 93
(2d Cir. 1984)); see United States v. Farhane, 634 F.3d 127, 167 (2d Cir. 2011) (“[A]
selective prosecution defense alleges a defect in the institution of the prosecution, and as
such is an issue for the court rather than the jury.”) (internal quotations omitted); United
States v. Cuervelo, 949 F.2d 559, 567 (2d Cir. 1991) (“Outrageous governmental conduct is
a question of law to be directed to the trial judge . . . .”). The defendant informed the Court
that he would not raise the argument of selective prosecution. The Court granted the
government’s motion to preclude evidence and argument of selective prosecution as
unopposed. See Dkt. No. 390 at 15.

               Notwithstanding the defendant’s representation to the Court regarding
selective prosecution, the defendant has consistently argued, in his opening statement and
throughout trial, that the governments of the United States and Mexico have conspired to
prosecute the defendant rather than other drug traffickers, specifically, his codefendant
Ismael Zambada Garcia, also known as “Mayo Zambada,” and that the government has
engaged in outrageous conduct in a desperate bid to prosecute the defendant. Indeed, the
Court acknowledged the defendant’s attempt to make a selective prosecution argument in his
opening statement, “Reading over the opening yesterday, I thought there were at least six
times that you made what was – what I will call a deficient selective prosecution argument.”
Trial Tr. 601:3-7. The Court further remarked:

       I think it’s remarkable that the government predicted precisely what was going
       to happen in the opening statement. I ruled that it shouldn't happen and it still
       happened. It’s got to be stopped. If the theory is that somebody else did it, and
       the defendant didn't do it, then arguments about whether the Mexican or United
       States governments are prosecuting or declining to prosecute for similar conduct
       are irrelevant and misleading.

Trial Tr. 601:18-25.

                In addition, throughout trial, defense counsel has argued, without evidence, that
Mayo Zambada bribed the government of Mexico to selectively prosecute the defendant. As
an initial matter, there is no evidence that any purported bribes were paid to place a “target”
on the defendant’s back at the behest of Mayo Zambada. Moreover, even if there was such
evidence—and there is not—such an argument about selective prosecution is completely
irrelevant to the defendant’s guilt on the charges before the jury. The Court recognized this
issue on the second day of trial:

       You can have two drug dealers, one of whom is paying off the government and
       one of whom is not. That does not mean the one who is not didn’t do the crimes.
       Really, I just got to tell you, I’m not going -- I really have to stop you from
       making the argument because it’s so misleading to the jury. It distracts them
       from the guilt or innocence of the defendant, which is what they have to
       determine.

             Although the Court has been unequivocal on this issue, defense counsel has
made every effort, though cross-examination, to elicit statements about bribes paid to the
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government of Mexico by or on behalf of Mayo Zambada. Defense counsel has also
attempted to cast aspersions on the motives of the United States government, asking witnesses
why the government has been unable to capture and arrest Mayo Zambada. For example,
defense counsel repeatedly asked Vincente Zambada Garcia, Mayo Zambada’s son, why the
government had been unable to locate Mayo Zambada after he had given them coordinates
and location information. Defense counsel’s aim is clear—to suggest that there is some
conspiracy between the governments of the United States and Mexico to prosecute the
defendant and leave Mayo Zambada alone. There is no evidence of this preposterous claim.
Indeed, the government presented testimony that squarely contradicts this claim. During the
testimony of DEA Special Agent Victor Vasquez, the government presented testimony that
the Mexican government, with the support of the U.S. government, mounted a capture
operation in 2014 against Mayo Zambada, just prior to the capture operation launched against
the defendant in Culiacan. As such, this claim is highly prejudicial and incredibly misleading.
More significantly, it is completely irrelevant to the defendant’s guilt. The defendant is on
trial, no one else. The Court should make clear to defense counsel that arguments about
selective prosecution in his summation are prohibited.

   II.     The Court Should Preclude Defense Counsel From Arguing that the Government
           Has Suborned Perjury to Protect the Mexican Government

               During trial on January 28, 2019, defense counsel claimed that a government
witness, Alex Cifuentes, lied to protect the United States government, which in turn has been
“trying to protect the Mexican government since day one.” 1/28/19 Trial Tr. 6333:15-17.
The Court then inquired whether defense counsel was actually asserting that the United
States was allowing a witness to lie because the “United States government is trying to
protect the Mexican government.” Id. at 18-22. Defense counsel responded, “Absolutely.”
Id. at 23. The Court made clear that his argument was completely irrelevant: “I don’t think
any of that matters, I got to tell you. I just don’t.” Id. at 24-25.

               Defense counsel’s claim that there is a conspiracy between the United States
and Mexican governments to cover up Mexican government corruption is not only patently
false and without any basis—it is also utterly irrelevant to the defendant’s guilt. As an initial
matter, the government has, through direct examination of its own witnesses, presented
evidence of bribery and corruption by the defendant and his co-conspirators involving the
Mexican government, military and law enforcement throughout this trial. The evidence at
trial has shown that the defendant used bribery and corruption within Mexico to traffic
narcotics to the United States.

              Here, instead of focusing on the charged crimes alleged and evidence of the
defendant’s guilt, defense counsel seeks to distract the jury by arguing about a purported
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global conspiracy between the United States and Mexican government. There is no evidence
of such a conspiracy and it not relevant. Nor is there any evidence that the United States
government suborned perjury to protect the Mexican government. The Court should
preclude defense counsel from arguing as such.


                                                Respectfully submitted,

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